Case 2:22-cv-00319-TOR   ECF No. 89-6    filed 09/23/24   PageID.1271   Page 1
                                    of 9




                           Exhibit E




                                                                Exhibit E Page 1
Case 2:22-cv-00319-TOR   ECF No. 89-6    filed 09/23/24   PageID.1272   Page 2
                                    of 9




                    WSU_00000087-WSU_00000087




                                                                Exhibit E Page 2
        Case 2:22-cv-00319-TOR       ECF No. 89-6      filed 09/23/24   PageID.1273   Page 3
                                                  of 9
          From: "Rolovich, Nicholas R" <nick.rolovich@wsu.edu>
             To: HRS Exemptions <hrs.exemptions@wsu.edu>
        Subject: Religious exemption
           Date: Mon, 4 Oct 2021 03:49:02 +0000
    Importance: Normal
   Attachments: 20211003190246720.pdf


Please see the attached exemption form and additional letter.

Nick Rolovich




                                                                              Exhibit E Page 3
                                                                                         WSU_00000087
Case 2:22-cv-00319-TOR   ECF No. 89-6    filed 09/23/24   PageID.1274   Page 4
                                    of 9




                    WSU_00000088-WSU_00000092




                                                                Exhibit E Page 4
Case 2:22-cv-00319-TOR               ECF No. 89-6    filed 09/23/24               PageID.1275          Page 5
                                                of 9

WASHINGTON STATE UNIVERISTY
RELIGIOUS EXEMPTION REQUEST FORM
PROCLAMATION 21-14.1 (COVID-19 VACCINE REQUIREMENT)

Washington State University will provide reasonable accommodations to qualified applicants and
employees with sincerely held religious beliefs, practice, or observance that conflict with job
requirements, unless providing such accommodations would pose an undue hardship.

Instructions for employees:

Initiate request for religious accommodation in Workday. For instructions on completing the COVID-19
Vaccination Verification in Workday refer to COVID-19 Vaccination Verification for Workers.

Below are initial intake questions for you to respond to in requesting a sincerely held religious beliefs,
practice, or observance exemption pursuant to Proclamation 21-14.1.

Claiming an exemption/accommodation based on false, misleading, or dishonest information is grounds
for disciplinary action up to and including termination from employment.

Complete and return to Human Resource Services, Pullman, WA, no later than October 4, 2021. To
avoid delay, you may submit the form by fax to: 509-335-1259 or email to
hrs.exemptions@wsu.edu. If you have any questions or need more information, please do not
hesitate to contact your HRS Service Team.
Questionnaire:

    1. Employee Name (Print):       /01'4, 1401645    -0(00IL
        wsuiDu                  :    Iti3adS(c
    2. Describe the sincerely held religious belief, practice, or observance that is the basis for your
       request for a religious exemption/accommodation to WSU's COVID-19 vaccination requirement.




    3. Briefly explain how your sincerely held religious belief, practice, or observance conflicts with
       WSU's COVID-19 vaccination requirement.




    4. How long have you held the above religious belief, practice, or observance?



                     .5-Le ei,a;4,401

                               Religious Exemption Request Form 9/1/2021
                                                    1



                                                                                             Exhibit E Page 5
                                                                                                             WSU_00000088
Case 2:22-cv-00319-TOR              ECF No. 89-6    filed 09/23/24              PageID.1276          Page 6
                                               of 9

WASHINGTON STATE UNIVERISTY
RELIGIOUS EXEMPTION REQUEST FORM
PROCLAMATION 21-14.1 (COVID-19 VACCINE REQUIREMENT)

   5, If you have ever received a FDA authorized or approved vaccine at any time in your life, please
      explain how your sincerely held religious belief, practice, or observance causes you to object to
      the COVID-19 vaccine compared to other vaccines you received.




                            ,A .zrAd- ed

    6. If the request for accommodation is temporary, please identify the anticipated date the
       accommodation is no longer needed:



Washington State University may need to obtain additional follow up information about your strongly
held religious belief(s) and/or discuss reasonable accommodations to WSU's COVID-19 vaccination
requirement. Human Resource Services will reach out to you if additional information is needed to
process this request.

I certify that I have read and understand the information provided in this request, and that I have
truthfully completed it based on my knowledge, information, and belief, I understand that it is illegal to
claim an exemption/ or accommodation on false, misleading, or dishonest grounds, including by
providing false, misleading, or dishonest information when seeking an exemption/accommodation, and
that any violations will be subject to appropriate legal enforcement and/or discipline.




                                                  mployee Signature




                                                 Date




                               Religious Exemption Request Form 9/1/2021
                                                    2



                                                                                           Exhibit E Page 6
                                                                                                          WSU_00000089
Case 2:22-cv-00319-TOR            ECF No. 89-6    filed 09/23/24           PageID.1277       Page 7
                                             of 9



[Date]

To Whom It May Concern,

I am a baptized Catholic seeking an exemption from WSU's vaccine mandate. This letter
explains why my sincerely held religious beliefs prohibit me from accepting the vaccine, and
why I am compelled to do so by the teachings of the Roman Catholic Church.

I believe that abortion is the taking of innocent human Iife. The Roman Catholic Church teaches
that I am required to refuse a medical intervention, including a vaccination, when my conscience
has come to sure judgment that, as in this case, accepting the vaccine will make me complicit in
the abortions that produced the human cell lines from Arhich currently available vaccines are
ultimately derived. While the Catholic Church, in principle, does not prohibit the use of
vaccines, the following authoritative Church teachings provide the basis on which I have
determined that I cannot accept the vaccination:

   • Vaccination is not morally obligatory in principle and so must be voluntary. 1
   • There is a general moral duty to refuse the use of medical products, including certain
     vaccines, that are produced using human cells lines derived from direct abortions.
   • A person's informed judgments about the proportionality of medical
     interventions are to be respected unless they contradict authoritative Catholic
     moral teachings. 2
   • A person is morally required to obey his or her sure conscience.3

There is no authoritative Church teaching universally obliging Catholics to receive any vaccine.
An individual Catholic may invoke Church teaching to refuse a vaccine developed or produced
using abortion- derived cell lines. More generally, a Catholic might refuse a vaccine based on the
Church's teachings concerning therapeutic proportionality. Therapeutic proportionality is an
assessment of whether the benefits of a medical intervention outweigh the undesirable side-
effects and burdens in light of the integral good of
the person, including spiritual, psychological, and bodily goods. 4 It can also extend to the
good of others and the common good, which likewise entail spiritual and moral dimensions
and are not reducible to public health. The judgment of therapeutic proportionality must be
made by the person who is the potential recipient of the intervention in the concrete
circumstances,5 not by public health authorities or by other individuals who might judge
differently in their own situations.

While my Bishop encourages vaccines, he also confirms that at the core of the Church's
teaching are the first and last points listed above: vaccination is not a universal obligation, and
a person must obey the judgment of his or her own informed and certain conscience. In fact,
the Catechism of the Catholic Church instructs that following one's conscience is following
Christ Himself:

         In all he says and does, man is obliged to follow faithfully what he knows to be
         just and right. It is by the judgment of his conscience that man perceives and
         recognizes the prescriptions of the divine law: "Conscience is a law of the mind;
         yet [Christians] would not grant that it is nothing more; . . . [Conscience] is a
         messenger of him, who, both in nature and in grace, speaks to us behind a veil,
         and teaches and rules us by his representatives. Conscience is the aboriginal
         Vicar of Christ."6
                                                                                    Exhibit E Page 7
                                                                                                 WSU_00000090
 Case 2:22-cv-00319-TOR           ECF No. 89-6    filed 09/23/24            PageID.1278       Page 8
                                             of 9




Because I have come to an informed and sure judgment in conscience that I must not receive
the vaccine, the Catholic Church requires that I follow this certain judgment of my
conscience. The Catechism is clear: "Man has the right to act in conscience and in freedom so
as personally to make moral decisions. 'He must not be forced to act contrary to his
conscience. Nor must he be prevented from acting according to his conscience, especially in
religious matters." 7

It is important to note that the law provides protection for sincerely held religious beliefs,
even when some members of the same Church or denomination disagree with the beliefs held
by the individual. Under Title VII, the test is not, in my case,, what Pope Francis may believe
about vaccinations, but rather, what I believe the Catholic Faith requires of me,

      [iintrafaith differences of that kind are not uncommon among followers of a
      particular creed, and the judicial process is singularly ill equipped to resolve such
      differences . . . and the guarantee of free exercise is not limited to beliefs which
      are shared by all of the of the members of a religious sect. Particularly in this
      sensitive area, it is not within the judicial function and judicial competence to
      inquire whether the petitioner or his fellow worker more correctly perceived the
      command of their common faith. Courts are not arbiters of scriptural
      interpretation.

Thomas v. Review Bd. ofInd. Emp't. Sec. Div., 450 U.S. 707, 715-716 (1981).

Finally, in response to your questions about any past medicine and vaccinations that I might have
received, I can say that I have never knowingly accepted or received medication or vaccine(s)
that were derived from the cell lines of aborted fetuses.

 I am merely requesting a reasonable accommodation to my sincerely held religious objection to •
 these vaccines. It is difficult to comprehend any undue hardship that would be placed upon WSU
 by this accommodation since it has been established that those who have been vaccinated are
 seeing their immunity wane significantly (see, Waning immunity of the BNT162b2 vaccine: A
 nationwide study from Israel,
 https://www.medrxiv.org/content/10.1101/2021.08.24.21262423v1) (booster shots are required
 to get the short-lived immunity back), it has been demonstrated that the vaccinated have
 "breakthrough" infections at an alarming rate, and they also shed the virus just as the
 unvaccinated (see, e.g., CDC mask decision followed stunning findings from Cape Cod beach
 outbreak
 https://abcnews.go.com/Politics/cdc-mask-decision-sturming-findings-cape-cod.-.
 beach/story?id=79148102).

 The same accommodations given to the vaccinated staff to protect themselves and others will be
 equally efficacious for the unvaccinated.




 NOTES                                                                                                 2_
                                                     GK       o\c•J\c_AA.

                                                                                    Exhibit E Page 8
                                                                                                WSU_00000091
 Case 2:22-cv-00319-TOR           ECF No. 89-6    filed 09/23/24         PageID.1279        Page 9
                                             of 9



1 Congregation for the Doctrine of the Faith (CDF), "Note on the Morality of Using Some Anti-
COVID-19 Vaccines," December 17, 2020, n. 5: "At the same time, practical reason makes
evident that vaccination is not, as a rule, a moral obligation and that, therefore, it must be
voluntary."
2 See United States Conference of Catholic Bishops (USCCB), Ethical and Religious Directives
for Catholic
Health Care Services, 6th ed. (Washington, DC: USCCB Publishing, 2018), n. 28. Hereafter
"ERDs."
 3 "A human being must always obey the certain judgment of his conscience. If he were
 deliberately to act against it, he would condemn himself. Yet it can happen that moral
 conscience remains in ignorance and makes erroneous judgments about acts to be performed
 or already committed." Catechism of the Catholic Church (Vatican City: Libreria Editrice
 Vaticana, 1993), www.vatican.va, n. 1790. Hereafter "CCC."
 4 See ERDs, nn. 32-33; nn. 56-57; Part Three, Introduction, para. 2; Part Five, Introduction, para.
 3.
 5 See ERDs, nn. 56-57. Both of these directives state that the proportionality of medical
 interventions is established "in the patient's judgment."
 6 CCC, n. 1777, citing John Henry Cardinal Newman, "Letter to the Duke of Norfolk," V, in
 Certain Difficulties felt by Anglicans in Catholic Teaching II (London: Longmans Green,
 1885), 248:
 7 CCC, n. 1782, citing Second Vatican Council, Dignitatis humanae, December 7, 1965, n. 3.




                                                                                   Exhibit E Page 9
                                                                                               WSU_00000092
